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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


                                         x
    In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(VMS)
    FEE AND MERCHANT DISCOUNT            :
    ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(VMS)
                                         :
                                         :   RULE 23(b)(3) CLASS COUNSEL’S
                                         :   MONTHLY REPORT REGARDING THIRD-
    This Document Relates To:                PARTY ENTITIES
                                         :
             ALL ACTIONS.                :
                                         :
                                         x




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    I.         INTRODUCTION

               At the September 7, 2023 Status Conference, the Court requested that Rule 23(b)(3) Class

    Counsel (“Class Counsel”) provide monthly reports to the Court regarding issues relating to third-

    party claim filers. Class Counsel previously provided reports by entity. This Report will provide

    general information regarding third-party issues and, to the extent relevant, information regarding

    any entity-specific matters.

               For the past several years, formally since November 2019, Class Counsel has tasked Epiq

    Systems, Inc. (“Epiq” or the “Class Administrator”) with providing monthly reporting regarding

    class member concerns or complaints regarding third-party claims-filing entities as well as claim-

    buying entities. Class Counsel follows up on these concerns where appropriate. Numerous issues

    have been handled informally, without Court intervention, and others have been brought to the

    Court’s attention when the informal process did not result in needed changes by the third party. For

    the most part, prior to the Settlement becoming final, problems were fairly infrequent and quickly

    handled. However, with the claims process ramping up, there has been a small, but noticeable

    increase in class member calls. We expect this to further increase as the claims process moves

    forward. Monitoring efforts are similarly increasing. Epiq continues to alert Class Counsel to new

    issues as they arise in addition to the monthly reporting process already in place. Edits to call-center

    scripting are being drafted to provide additional information to class members regarding third

    parties.

    II.        CURRENT THIRD-PARTY ISSUES

               Since August 18, 2023, Epiq has been performing specific outreach efforts to known third-

    party claims filers. On August 18, 2023, Epiq sent an email to a list of 134 third parties, based on




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    data that has been gathered by Class Counsel and Epiq over the years.              The text of that

    communication from Epiq was as follows:

             Dear Third Party or Aggregated Claims Filer,

                    With respect to the Payment Card Interchange Fee Settlement (In re Payment
             Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720
             (MKB) (VMS)), the time for all appeals has passed, and the parties are currently
             preparing for administration of the claims process. Please be patient. Further
             updates will be posted as soon as they become available.

                     In the meantime, we are currently at a point where we are ready to accept
             submission of Proof of Authority documentation for Third-Party Filers on behalf of
             their clients. We know many of you have continued to Pre-Register via the case
             website while the appeals were active. In order to more efficiently associate your
             preregistration with your client’s claim, you will be asked to complete an Excel
             template that includes your list of clients by Business Entity Name and their
             associated Tax Identification Number(s) (“TIN(s)”).

                     Even if you previously submitted Proof of Authorization documentation, you
             will need to resubmit Proof of Authorization documentation that includes at least the
             following elements:

                           Full Legal Name of your Client/Business Entity

                           TIN(s) for your Client/Business Entity

                           Signature (with date) by your Client Contact

                           Title of your Client Contact

                           An indication that your Client Contact had signatory authority
                            for that Business Entity (for example, title)

                           An indication that the authorization applies to the Payment
                            Card case

                           Language authorizing you to file claims on behalf of your
                            Client/Business Entity

                           Language authorizing you to receive payment on behalf of
                            your Client/Business Entity (if receiving payment on behalf
                            of your Client)




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                    Please note that we are willing to accept resubmission of older or previously-
             submitted documentation for review, provided that documentation includes all of the
             requirements listed above.

                     When you are ready to submit all Proof of Authorization forms on behalf of
             your clients, please let the Class Administrator know by emailing
             bulkfiler@paymentcardsettlement.com.

                    Submission of materials that comply with the above list does not mean that
             your Proof of Authorization has been automatically accepted by the Class
             Administrator. Once review of your submission is complete, you will be notified
             regarding the status of your submission(s).

             Following that communication, Epiq and Class Counsel have been in constant contact with

    various third parties. Of note, 24 third-party filers have provided some form of documentation such

    as a list of third-party clients with TINs or have provided an estimated count of clients. We have

    encouraged the use of a specially created email address – bulkfiler@paymentcardsettlement.com so

    that issues raised by third parties are appropriately directed.

             Thus far, third-party filers have claimed to represent upwards of 163,000 clients. Epiq has

    received roughly 14,500 agreements to date, but none yet from the 2 third-party entities purporting to

    have the largest client bases. All agreements received are subject to a review process.

    III.     SUGGESTED OUTREACH AND UPDATED MESSAGING

             Epiq and Class Counsel receive calls and emails daily from various third parties, seeking

    information regarding the claims process. To that end, Class Counsel suggests two steps be taken in

    the coming weeks: (1) that the required disclaimer language be updated, beginning December 1,

    2023, to account for the claims process; and (2) that a webinar or conference call be held to further

    discuss general issues related to third parties where Class Counsel and Epiq can efficiently provide a

    general, uniform message and respond to commonly asked questions from interested parties.




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             The required Court-ordered disclaimers that must accompany all solicitations “in any form

    including websites, mail and email solicitations, contracts, telephone and in-person solicitations” are

    as follows1:

                        1.     A statement that claim forms are not yet available.

                     2.      A statement making clear that class members need not sign up for a
             third-party service in order to participate in any monetary relief and explaining that
             no-cost assistance will be available from the Class Administrator and Class Counsel
             during the claims-filing period.

                    3.       Information directing class members to the Court-approved website
             for additional information.

    ECF 7260 at 1.

             The proposed new disclaimers are as follows (to be required by December 1, 2023):

             1.         Claim forms are being delivered and are available online beginning December 1,

    2023.

             2.         Class members need not sign up for a third-party service in order to participate in any

    monetary relief.

             3.         No-cost assistance is available from the Class Administrator and Class Counsel

    during the claims-filing period.

             4.         Information directing class members to the Court-approved website for additional

    information.

             As the claims process begins, additional or different disclaimers may be suggested.




    1
        See Order Regarding Third-Party Claims-Filing Services (ECF 7260) at 1.

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    IV.      OTHER ISSUES

             A few other calls have come in to Epiq recently, but all seem to be general questions as to

    whether a class member must use a third-party claims filing company. The current customer service

    scripting seems to be working well for general concerns. That response is as follows:

             Some companies may offer to help you file your claim in exchange for a portion of
             your recovery from the settlement. These companies are sometimes called third-
             party claims filers. Before you decide to use one of these companies, you need to
             know that you can file with the Class Administrator on your own, free of charge.
             You are also entitled to contact the Class Administrator or the Rule 23(b)(3) Class
             Counsel for assistance, again at no cost to you. In addition, there are prior Court
             orders regarding third-party claims-filing companies that might be helpful to you.
             These documents are available on the homepage of the case website.

    V.       CONCLUSION

             Class Counsel will continue to apprise the Court regarding third-party issues via monthly

    reports and will bring urgent matters to the Court’s attention via letter. The next monthly report will

    be filed on November 3, 2023.

    DATED: October 5, 2023                         ROBBINS GELLER RUDMAN
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                                                   PATRICK J. COUGHLIN
                                                   ALEXANDRA S. BERNAY


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